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5
     Attorney for Defendant, JOSEPH TAYLOR
6
                           IN THE UNITED STATES DISTRICT COURT
7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                             CASE NO: 1:10-CR-0131 AWI
9                           Plaintiff,
10
      v.                                                    STIPULATION AND ORDER TO
                                                            CONTINUE SENTENCING HEARING
11    JOSEPH TAYLOR,

12                          Defendant.                      DATE      : February 11, 2013
                                                            TIME      : 10:00 A.M.
13                                                          JUDGE     : Hon. Anthony W. Ishii
14

15          IT IS HEREBY STIPULATED by and between the parties hereto through their
16
     respective counsel that the sentencing hearing in the above-captioned matter now set for February
17
     11, 2013 be vacated and reset for February 25, 2013.
18

19          This continuance is at the request of Defendant Joseph Taylor. Counsel for Mr. Taylor

20   expects to be engaged in a multi-day felony preliminary hearing and motion to suppress in state
21   court on February 11, 2013, and requests that Mr. Taylor’s sentencing be continued two weeks so
22
     that it may occur at the same time as co-defendant Dustin York’s sentencing. Counsel requests
23
     that the above-captioned matter now set for February 11, 2013 be vacated and reset for February
24

25   25, 2013 to accommodate counsel’s schedule and so that Mr. Taylor and Mr. York may be

26   sentenced on the same date. The United States agrees and stipulates to continuance.
27
            As this is a sentencing hearing, no exclusion of time is necessary.
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                            Case 1:10-cr-00131-LJO Document 172 Filed 02/04/13 Page 2 of 2



1

2    DATED: February 1, 2013                                       Respectfully submitted,

3                                                                  BENJAMIN B. WAGNER
                                                                   United States Attorney
4

5

6                                                            By:   /s/ Karen Escobar
7
                                                                   KAREN ESCOBAR
                                                                   Assistant United States Attorney
8                                                                  Attorney for Plaintiff
9

10                                                                 /s/ J. Raza Lawrence
                                                                   J. RAZA LAWRENCE
11                                                                 Margolin & Lawrence
                                                                   Attorney for Defendant
12                                                                 Joseph Taylor
13

14
                                                       ORDER
15

16

17   IT IS SO ORDERED.
18
     Dated: February 1, 2013
19   DEAC_Sig nature-END:
                                                       SENIOR DISTRICT JUDGE

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